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  IT IS ORDERED as set forth below:




  Date: February 3, 2021
                                                    _____________________________________
                                                               Lisa Ritchey Craig
                                                          U.S. Bankruptcy Court Judge


 _______________________________________________________________

                      UNITED STATES BANKRUPTCY COURT
                       NORTHERN DISTRICT OF GEORGIA
                              ATLANTA DIVISION

IN THE MATTER OF:                       :      CASE NUMBER
                                        :
CASSANDRA JOHNSON LANDRY,               :      18-55697-LRC
                                        :
                                        :
                                        :      IN PROCEEDINGS UNDER
                                        :      CHAPTER 7 OF THE
      DEBTOR.                           :      BANKRUPTCY CODE

                                        ORDER

      Before the Court is Debtor’s Objection to Claim of CACH, LLC (Doc. 186) (the

“Claim Objection”).

      On April 3, 2018, Debtor filed a voluntary petition under Chapter 13 of the

Bankruptcy Code. On September 13, 2018, Debtor voluntarily converted her bankruptcy

case to a case under Chapter 7. See Doc. 72. S. Gregory Hays (the “Trustee”) was

appointed as trustee. The Trustee filed a notice of assets and requested the setting of a
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claims bar date.

       On June 11, 2018, CACH, LLC (“CACH”) filed a proof of claim asserting an

unsecured claim in the amount of $33,646.86 (the “Claim”) arising from a commercial loan.

Debtor opposes payment of the Claim as filed because Debtor has paid $17,903.20 on the

underlying obligation.    Debtor provides no further details as to whether the amount

asserted as owed in the Claim does or does not take into account these payments. Although

CACH has not responded the Objection, the Trustee has not raised any concerns with the

amount of the Claim.

       The Court cannot sustain the Claim Objection because Debtor lacks standing to

object to the Claim. Chapter 7 debtors lack standing to object to a claim unless the case is

a surplus case that will result in a distribution under § 726(a)(6), or the underlying debt is

nondischargeable. In re Malsch, 417 B.R. 458, 461 (Bankr. N.D. Ohio 2009); see also In

re Cannon, 2017 WL 3491825, at *1 (Bankr. N.D. Fla. June 5, 2017); In re Coleman, 131

B.R. 59, 61 (Bankr. N.D. Tex. 1991) (finding Chapter 7 debtors lacked standing to object

to a claim because they had “not shown that there will be a surplus”). Here, a review of

the claims registry and the Trustee’s final report suggests that there will be no distribution

under § 726(a)(6), and Debtor has not established otherwise. See Doc. 332. Additionally,

the debt at issue does not appear to be nondischargeable. CACH has not filed a complaint

for a determination that the Claim is for a nondischargeable debt, and the deadline for

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objecting to the dischargeability of a particular debt has long since passed.

       For these reasons, the Court finds that the Claim Objection must be, and hereby is,

DENIED.



                                 END OF DOCUMENT

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